
26 N.Y.2d 630 (1970)
Nunzio Albero, Appellant,
v.
State of New York et al., Respondents. (Claim No. 41348.)
Court of Appeals of the State of New York.
Argued December 4, 1969.
Decided January 7, 1970.
Joseph Goldberg for appellant.
Louis J. Lefkowitz, Attorney-General (J. Lawson Brown and Ruth Kessler Toch of counsel), for respondents.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI and JASEN. Judges BERGAN and BREITEL concur on constraint of B. R. DeWitt, Inc. v. Hall (19 N Y 2d 141) and Schwartz v. Public Administrator of County of Bronx (24 N Y 2d 65). Taking no part: Judge GIBSON.
Order affirmed, without costs; no opinion.
